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 8                         UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                  CASE NO.: 20CR2146-JLS
11
                         Plaintiff,             ORDER TO CONTINUE MOTION
12                                              HEARING/TRIAL SETTING
           v.
13
     FRANCISCO JAVIER NUNEZ,
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                         Defendant.
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17         The parties’ joint motion to continue the Motion Hearing/Trial Setting
18   from October 1, 2021 to Friday, October 29, 2021 at 1:30 p.m., is granted, on the
19   grounds stated therein. Time is excluded pursuant to 18 U.S.C. § 3161 (h) (7). The
20   ends of justice served by a continuance in this case outweigh the best interest of the
21   public and defendant in a speedy trial.
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           IT IS SO ORDERED.
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     Dated: September 29, 2021
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